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                          EXHIBIT “A”
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                                            #:1024




From: Ly Viet Vu <lyviet.vu@sofresh.ca>
To: "vanmpham@yahoo.com" <vanmpham@yahoo.com>
Sent: Tuesday, April 12, 2011, 10:25:22 PM PDT
Subject: RE: website design


Hi Van,




Alright.




So we will be reusing this: http://dev.sofresh.vn/missvietnamamerica/05 site/v02/




1) Are we doing any design changes to it ? If so, can you give me some sort of direction as to the look and feel you are
going for ? Functionality will be exactly the same. Please re-confirm this with me. I have this that you mentioned
previously :




    Color scheme just needs to be changed so it doesn't look exactly like the missworldvietnam/north america site. open to color
    scheme but thinking perhaps Red/Gold very "Hollywood and red carpet" feel..if it looks too much like missworldvietnam..then
    maybe Red with metallic/silver trim on black background perhaps? something kinda like the Maxim magazine color theme:
    http://www maxim.com/




2) What is this other project of yours that you are talking about ?

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3) I’m not sure I understand SHOP. I went to cafepress.com but could not find premium shop. Can you send me a
direct link to this ? I remember this that you mentioned awhile back. What happens when a user clicks on SHOP ? :




     please refer to my current site: www.vietmodelproject.com The only additional page I will need is a "SHOP" page which will
     allow me to sell tickets for the event as well as merchandise. their's an online merchandise site (www.cafepress.com) that can be
     implemented or link to the website and they take care of everything for me with orders and such so we don't need to set up any
     ecommerce account. if anything, it will be a paypal account for tickets.




4) The additional subpages. For Media and Events. Can you briefly describe the sub menu pages and how they should work. What
the User should see when they get to these pages.




Ly




From: van pham [mailto:vanmpham@yahoo.com]
Sent: Thursday, April 07, 2011 5:36 PM
To: Ly Viet Vu
Subject: RE: website design




hey viet,

ok bud. you know what, just to make it easy, i will use my other project for this website since it's pretty much
laid out already. I'm looking into doing a Miss Global Pageant. Based off your design per the attachment, the
only additional navigation tabs i would need are REGISTER and SHOP.

REGISTER: Purpose of this is that I'm going to have applicants to get people to nominate/vote for them in order
to be a contestant. Like to do it so I would obtain all the email data to be use for newsletter purpose. So they
would need to confirm their emails.

SHOP: Basically I'm going through a website called cafepress.com which will take care of all transactions.
Basically, this shop will be an extension of the website. If you go to this link and read about the "premium
shop" and view the sample websites that have utilized it, you'll have an idea.

ADDITIONAL SUBPAGES would be as follow:
1. Contestants 1a. Individual Profile Page
2. Media 2a. Photos 2b.Videos 2c. Press
3. Events 3a. Venue 3b. Judges 3c. Performances

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Last thing is just to have a place where we can have the facebook, twitter, and youtube buttons.

Note that A LOT of these pages would be "coming soon". My main thing for now is really just to have a
homepage, about miss global, Join the pageant, contact. Everything else can be spread out over the next few
months as I start to get applicants and such.

As for logo, i'm actually gonna have a friend take care of it so it would make it easier for you. Probably gonna
get that going by this weekend.

keep in mind that I definitely like to be able to change text/images for easy self web management.

let me know if this all makes sense.

thanks. van

--- On Tue, 4/5/11, Ly Viet Vu <lyviet.vu@sofresh.ca> wrote:


From: Ly Viet Vu <lyviet.vu@sofresh.ca>
Subject: RE: website design
To: "'van pham'" <vanmpham@yahoo.com>
Date: Tuesday, April 5, 2011, 1:56 AM

Hi Van,




Still a bit crazy, but lets see what we can do to help you out.




So right, miss America website, reskin it for your website. Can you give me a bit more information about your website,
why you need a website, its purpose, details for each page, etc… The whole she-bang in one email will be good Van.




From: van pham [mailto:vanmpham@yahoo.com]
Sent: Monday, April 04, 2011 2:19 PM
To: Ly Viet Vu
Subject: RE: website design




hey ly,

how are ya? hope the last few weeks haven't been too crazy for you. but yeah, just wanted to follow up per your
last email and see if you have a bit more time now to see what you can do to help me get started with the
website design. look forward to hearing from ya! thanks. van

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                                        #:1027
--- On Wed, 3/16/11, Ly Viet Vu <lyviet.vu@sofresh.ca> wrote:


From: Ly Viet Vu <lyviet.vu@sofresh.ca>
Subject: RE: website design
To: "'Van Pham'" <vanmpham@yahoo.com>
Date: Wednesday, March 16, 2011, 12:53 AM

Hrm. Alright, well I won’t be able to help you until end of the month with our current work schedule as my whole team is
slammed right now.




Can we revisit this beginning of April ?




From: Van Pham [mailto:vanmpham@yahoo.com]
Sent: Wednesday, March 16, 2011 10:01 AM
To: Ly Viet Vu
Subject: Re: website design




Haven't been in touch with Sammy nor did i really had a chance to work with him but thought we would take
your suggestion and alter it a bit with color scheme and such or whatever else u would recommend to make it
possible. Suggestions?

Sent from my iPhone


On Mar 15, 2011, at 7:49 PM, "Ly Viet Vu" <lyviet.vu@sofresh.ca> wrote:

        Is Sammy cool with this ? I’ll need to let him know if you want to use a design that is Sammy’s.




        From: Van Pham [mailto:vanmpham@yahoo.com]
        Sent: Wednesday, March 16, 2011 8:57 AM
        To: Ly Viet Vu
        Subject: Re: website design




        Hey Ly. Good to hear from u. Yeah, $1k if

        U can help me out. Otherwise $1500 if u

        Can help with a logo as well with the site.

        Know it's not much based off what u normally charge but figure if I'm just

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Using a template that you've done already,

It would make things more efficient for u.

I'm flexible with timeline if u can make it

Work for me. Think U still might be able

to help me out?


Sent from my iPhone


On Mar 15, 2011, at 6:45 PM, "Ly Viet Vu" <lyviet.vu@sofresh.ca> wrote:

       Good. Super busy.




       Right, your website. My team is pretty tied up at the moment. What was the budget you
       had ? $1K ?




       From: van pham [mailto:vanmpham@yahoo.com]
       Sent: Tuesday, March 15, 2011 4:47 AM
       To: Ly Viet Vu
       Subject: Re: website design




       hey ly,

       how have you been? it's been quite a while. hope business is going well for you in vietnam. i've be
       for a while juggling a bunch of projects i've been working on. but yeah, i wanted to re-visit you an
       possibility of getting you to redesign my modeling website that we've talked about a while ago in
       using the same template that you did already for that whole miss vietnam america site so work wi
       minimal as possible for you.

       i pretty much have all the assets ready for the site and wanted to see if you still might be available
       help me get this going again.

       really look forward to hearing from again. otherwise, hope this year has been going well for you!




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                          EXHIBIT “B”
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From: domains@hugedomains.com
Date: April 11, 2011 at 9:55:43 AM PDT
To: vanmpham@yahoo.com
Subject: Domain Order Information

Thank you for your purchase at HugeDomains.com. A representative from HugeDomains.com
will be contacting you within the next 48 hours to discuss transferring of the domain.

Order #: 437929

Domains:

MissGlobal.com $1,395.00

CO Tax: $0.00
Order Total: $1,395.00

Contact Information
Name: Van M Pham
Email: vanmpham@yahoo.com
Phone: 323.528.4385

Address: 6157 Temple City Blvd.
City: Temple City
State: CA
Zip: 91780
Country: United States



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                          EXHIBIT “C”
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From: service@paypal.com <service@paypal.com>
To: "vanmpham@yahoo.com" <vanmpham@yahoo.com>
Sent: Sunday, April 24, 2011, 8:59:48 AM PDT
Subject: Your payment to 48hourslogo.com


                                                                                                    Apr 24, 2011 08:59:48 PDT
                                                                                              Receipt No: 0735-2284-2313-3437

        Hello van pham,
        You sent a payment of $29.00 USD to 48hourslogo.com.
        This charge will appear on your credit card statement as payment to PAYPAL *48HOURSLOGO.

        Merchant information                                        Instructions to merchant
        48hourslogo.com                                             None provided
        48hourslogo@gmail.com
        http://www.48hourslogo.com
        408-467-4263

        Shipping information                                        Shipping method
        van pham                                                    Not specified
        6157 Temple City Blvd
        Temple City, CA 91780
        United States
        Description                                                                        Unit price       Qty         Amount

          Miss Global Logo Design ($29 Initial Payment)                               $29.00 USD            1     $29.00 USD


                                                                                                  Insurance:              ----
                                                                                                      Total:      $29.00 USD
        Receipt No: 0735-2284-2313-3437
        Please keep this receipt number for future reference. You'll need it if you contact customer service at
        48hourslogo.com or PayPal.



            Use PayPal next time!
            It's the safer, easier way to pay.

            No need to type your information.

            Your personal and financial information is securely stored and never shared with merchants when you
            pay.
            Sign up for a PayPal account.



          Questions? Visit the Help Center at: www.paypal.com/help.
        Thanks for using PayPal – the safer, easier way to pay and get paid online.
        Please do not reply to this email. This mailbox is not monitored and you will not receive a response.

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                           EXHIBIT “D”
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                           EXHIBIT “E”
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~~    IRS DEPARTMENT OF THE TREASURY
~~"       INTERNAL REVENUE SERVICE
          CINCINNATI OH    45999-0023
                                                                  Date of this notice:     04-25-2012
                                                                  Employer Identification Number:
                                                                  XX-XXXXXXX
                                                                  Form:   SS-4
                                                                  Number of this notice:    CP 575 A
               MISS GLOBAL ORGANIZATION LLC
               VAN M PHAM SOLE MBR
               511A NORTH ATLANTIC BLVD                           For assistance you may call us at:
               ALHAMBRA, CA 91801                                 1-800-829-4933

                                                                  IF YOU WRITE, ATTACH THE
                                                                  STUB AT THE END OF THIS NOTICE.




                       WE ASSIGNED YOU   AN   EMPLOYER IDENTIFICATION NUMBER
             Thank you for applying for an Employer Identification Number (EIN). We assigned you
        EIN XX-XXXXXXX. This EIN will identify you, your business accounts, tax returns, and
        documents, even if you have no employees. Please keep this notice in your permanent
        records.
             When filing tax documents, payments, and related correspondence, it is very important
        that you use your EIN and complete name and address exactly as shown above. Any variation
        may cause a delay in processing, result in incorrect information in your account, or even
        cause you to be assigned more than one EIN. If the information is not correct as shown
        above, please make the correction using the attached tear off stub and return it to us.
             Based on the information received from you or your representative, you must file
        the following form(s) by the date(s) shown.
                             Form 941                            04/30/2013
                             Form 940                            01/31/2014
             If you have questions about the form(s) or the due date(s) shown, you can call us at
        the phone number or write to us at the address shown at the top of this notice . If you
        need help in determining your annual accounting period (tax year), see Publication 538,
        Accounting Periods and Methods.
             We assigned you a tax classification based on information obtained from you or your
        representative. It is not a legal determination of your tax classification, and is not
        binding on the IRS. If you want a legal determination of your tax classification, you may
        request a private letter ruling from the IRS under the guidelines in Revenue Procedure
        2004-1, 2004-1 I.R.B. 1 (or superseding Revenue Procedure for the year at issue). Note:
        Certain tax classification elections can be requested by filing Form 8832, Entity
        Classification Election. See Form 8832 and its instructions for additional information.
             If you are required to deposit for employment taxes (Forms 941, 943, 940, 944, 945,
        CT-1, or 1042), excise taxes (Form 720), or income taxes (Form 1120), you will receive a
        Welcome Package shortly, which includes instructions for making your deposits
        electronically through the Electronic Federal Tax Payment System (EFTPS). A Personal
        Identification Number (PIN) for EFTPS will also be sent to you under separate cover.
        Please activate the PIN once you receive it, even if you have requested the services of a
        tax professional or representative. For more information about EFTPS, refer to
        Publication 966, Electronic Choices to Pay All Your Federal Taxes. If you need to
        make a deposit immediately , you will need to make arrangements with your Financial
        Institution to complete a wire transfer.
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                           EXHIBIT “F”
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                                                State of California
                                                    Secretary of State

                                              STATEMENT OF INFORMATION
                                                    (Limited Liability Company)
                                                                                                                            ENDORSED • FILED
                                                                                                                            in the office of the Secretary of State
                 Filing Fee $20.00. If this is an amendment, see instructions.                                                     of the State of California
         IMPORTANT -       READ INSTRUCTIONS BEFORE COMPLETING THIS FORM
 1.     LIMITED LIABILITY COMPANY NAME
                                                                                                                                       MAY 1 0 2012
       Miss Global Organization LLC




                                                                                                                            This Space For Filing Use Only


                                                                                      STATE OR PLACE OF ORGANIZATION (If formed outside of California)




 4.     If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary of
        State, or no statement of information has been previously filed, this form must be completed in its entirety.
        D    If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary of
             State , check the box and proceed to Item 15.


 5.     STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                               CITY                          STATE      ZIP CODE
  511A North Atlantic Blvd.                                                                    Alhambra                           CA           91801
 6.     MAILING ADDRESS OF LLC. IF DIFFERENT THAN ITEM 5                                           CITY                           STATE     ZIP     DE



 7.     CALIFORNIA OFFICE WHERE RECORDS ARE MAINTAINED (DOMESTIC ONLY)                             CITY                          STATE      ZIP CODE
      511A North Atlantic Blvd.                                                                Alhambra                            CA             91801




 8.     NAME                                      ADDRESS                                          CITY                           STATE     ZIP CODE


 Name and Complete Address of Any Manager or Managers, or if None Have Been Appointed or Elected, Provide the Name and
 Address of Each Member (Attach additional pages, if necessary.)
 9.     NAME                                       ADDRESS                                         CITY                           STATE     ZIP CODE

j - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - _._--- - - - - -.- 91801
      Van M. Pham                       511A North Atlantic Blvd.                                   Alhambra                      CA
                                                                                                                      ._--. -_._-.-_. -
 10. NAME                                          ADDRESS                                         CITY                           STATE     ZIP CODE


 11. NAME                                          ADDRESS                                         CITY                           STATE     ZIP CODE


 Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 13 must be completed with a California address, a
 P.O. Box is not acceptable. If the agent is a corporation , the agent must have on file with the Califomia Secretary of State a certificate pursuant to California
 Corporations Code section 1505 and Item 13 must be left blank.
 12. NAME OF AGENT FOR SERVICE OF PROCESS
  Legalzoom.com, Inc.
 13. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA. IF AN INDIVIDUAL                CITY                          STATE      ZIP CODE
                                                                                                                                   CA


 14. DESCRIBE THE TYPE OF BUSINESS OF THE LIMITED LIABILITY COMPANY
      Entertainment - Organizing beauty pageants
 15. THE INFORMATION CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS. IS TRUE AND CORRECT.
       05/07/2012            Tony Burroughs                                                     Authorized Rep.
                              TYPE OR PRINT NAME OF PERSON COMPLETING THE FORM                            TITLE
